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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 In Re Fannie Mae / Freddie Mac Senior
 Preferred Stock Purchase Agreement Class                    Case No. 1:13-mc-01288 (RCL)
 Action Litigations



                          ORDER GOVERNING PLAN OF ALLOCATION

       Before the Court is Plaintiffs’ proposed Plan of Allocation.       The Court being fully

advised in the premises, and for good cause shown, the Court hereby ORDERS as follows:

I.     Definitions. For the purposes of this Order:

       a.      “Fannie Mae” means the Federal National Mortgage Association.

       b.      “Freddie Mac” means the Federal Home Loan Mortgage Corporation.

       c.      “Fannie Preferred Class” means all current holders of junior preferred stock in

Fannie Mae listed in Appendix A hereto as of December 7, 2021, or their successors in interest to

the extent shares are sold after December 7, 2021, and before the date of the Final Non- appealable

Judgment.

       d.      “Freddie Preferred Class” means all current holders of junior preferred stock in

Freddie Mac listed in Appendix B hereto as of December 7, 2021, or their successors in interest to

the extent shares are sold after December 7, 2021, and before the date of the Final Non- appealable

Judgment.

       e.      “Freddie Common Class” means all current holders of common stock in Freddie

Mac as of December 7, 2021, or their successors in interest to the extent shares are sold after

December 7, 2021, and before the date of the Final Non-appealable Judgment.

       f.      “Final Non-appealable Judgment” means the judgment of the Court after (1) any

and all appeals to the U.S. Court of Appeals for the D.C. Circuit (the “Court of Appeals”) have
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been adjudicated, or the time for appeal to the Court of Appeals has expired with no appeal having

been taken, (2) any and all petitions for writ of certiorari to the U.S. Supreme Court (the “Supreme

Court”) have been adjudicated, or the time for filing petitions for writ of certiorari has expired with

no petition having been filed, and (3) if any petition for writ of certiorari is granted, any and all

appeals to the Supreme Court have been adjudicated.

        g.      “Stated Value” means the dollar amount identified in the Certificate of Designation

of each series of Fannie Mae Junior Preferred Stock as the “stated value” of the shares in that

series. For example, the Stated Value of shares of Fannie Mae Series T Junior Preferred Stock is

$25.

        h.      “Redemption Price” means the dollar amount identified in the Certificate of

Designation of each series of Freddie Mac Junior Preferred Stock as the “redemption price” or

“redemption value” of the shares in that series. For example, the Redemption Price of shares of

Freddie Mac Series B Junior Preferred Stock is $50 per share.

        i.      “Classes” means, collectively, the Fannie Preferred Class, the Freddie Preferred

Class, and the Freddie Common Class.

        j.      “Class Counsel” means the law firms appointed by the Court to represent the

Classes in this action: Boies Schiller Flexner LLP; Kessler Topaz Meltzer & Check, LLP;

Bernstein Litowitz Berger & Grossmann LLP; and Grant & Eisenhofer P.A.

        k.      “Total Plaintiffs’ Award” means the sum of all damages and interest awarded during

the trial of the claims in this matter and post-trial proceedings, and allowed after Defendants’ appeal

(or after the expiration of time allowed for filing such appeal, if no appeal is filed within that time),

inclusive of attorneys’ fees, non-taxable litigation expenses, and pre- and post-judgment interest




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as have been or may be awarded to Plaintiffs, and inclusive of any interest earned through such

investments as the Court may direct following Defendants’ payment of the judgment.

       l.      “Distribution Administrator” means A.B. Data, the administrator proposed by

Plaintiffs to be appointed by the Court pursuant to this Order to recommend for the Court’s

approval the final allocation of the Net Class Award to Class members, to administer the

distribution of the Net Class Award to the Class members, and to perform such incidental and

additional duties as are set forth in this Order or as the Court may subsequently direct.

       m.      “Net Class Award” means the Total Plaintiffs’ Award less: (i) service awards, if

any, to the representative Plaintiffs; (ii) attorneys’ fees and litigation expenses awarded to Class

Counsel; (iii) compensation and expenses paid or reimbursed to the Distribution Administrator;

(v) any additional administrative expenses that may be charged against the Total Plaintiffs’ Award

at the Court’s direction; and (vi) the Net Berkley Award.

       n.      “Fannie Preferred Net Class Award” means the portion of the Net Class Award to

be allocated to the Fannie Preferred Class.

       o.      “Freddie Preferred Net Class Award” means the portion of the Net Class Award to

be allocated to the Freddie Preferred Class.

       p.      “Freddie Common Net Class Award” means the portion of the Net Class Award to

be allocated to the Freddie Common Class.

       q.      “Net Berkley Award” means the portion of the Total Plaintiffs’ Award to be

allocated to the WR Berkley Plaintiffs.

       r.      “Opt-out” means a shareholder, other than one or more of the WR Berkley Plaintiffs,

that submitted a timely, complete, and accurate request for exclusion from the relevant Class(es)




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in accordance with the instructions set forth in the Notice of Class Action, and which included an

identification of Specified Shares.

        s.         “Specified Shares” means the shares of Fannie Mae Junior Preferred Stock, Freddie

Mac Junior Preferred Stock, and/or Freddie Mac Common Stock identified in the “Exclusion

Report” dated May 13, 2022 (filed as Ex. D in ECF No. 153, Case No. 1:13-mc-01288-RCL) in

which an identified Opt-out provided a valid exclusion request by identifying the series and

number of shares owned. A list of valid Specified Shares is set forth in Appendix C hereto.

        t.         “Held Specified Shares” means Specified Shares still held by Opt-outs at the time

of distribution.

        u.         “WR Berkley Plaintiffs” means Berkley Insurance Company, Acadia Insurance

Company, Admiral Insurance Company, Berkley Regional Insurance Company, Carolina Casualty

Insurance Company, Midwest Employers Casualty, Nautilus Insurance Company and Preferred

Employers Insurance Company.

II.     Allocation Plan and Distribution Procedures

        A.         Appointment of Distribution Administrator

        1.         The Court hereby appoints A.B. Data as the Distribution Administrator. A.B. Data

is currently serving as the Notice Administrator for the Classes upon prior order of this Court (ECF

141) and previously sent the Class Notice to potential members of the Class. As a result, there are

significant efficiencies from A.B. Data serving in the role of Distribution Administrator.

        B.         Duties of Distribution Administrator

        2.         The Distribution Administrator shall be responsible for finalizing with Class

Counsel a final allocation plan (“Allocation Plan”) and a final distribution method (“Distribution

Method”) of the Net Class Award to the members of the Classes and the Net Berkley Award to the

WR Berkley Plaintiffs. The Allocation Plan and Distribution Method shall be developed in a


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manner that implements the guidelines and principles set forth in this Order, under supervision

from the Court and Class Counsel, and that is subject to ultimate approval by the Court after notice

is provided to the Classes and members of the Classes are given an opportunity to object.

       3.      The Distribution Administrator is authorized to make reasonable expenditures to

secure the resources and assistance reasonably necessary to the performance of its duties. Such

expenses, and reasonable compensation for the work performed by the Distribution Administrator,

will be paid and reimbursed from the Judgment Fund periodically.

       C.      Procedures and Principles for the Allocation Plan

       4.      The Allocation Plan shall allocate the Net Class Award to members of the Classes on

a proportional basis. Within each Class, each Class member’s proportional share of the Net Class

Award for that Class will reflect a reasonable allocation.

       a.      For the Fannie Preferred Class, and subject to the provisions below, that reasonable

               allocation will be based on the proportion of the aggregate Stated Value of all the

               issued shares in the Fannie Preferred Class listed in Appendix A that is represented

               by each Fannie Mae junior preferred share held by Class members.

       b.      For the Freddie Preferred Class, and subject to the provisions below, that reasonable

               allocation will be based on the proportion of the aggregate Redemption Price of all

               the issued shares in the Freddie Preferred Class listed in Appendix B that is

               represented by each Freddie Mac junior preferred share held by Class members.

       c.      For the Freddie Common Class, and subject to the provisions below, that reasonable

               allocation will be based on the proportion of the total number of outstanding Freddie

               Mac common shares that is represented by each Freddie Mac common share held by

               Class members.




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       d.      For each of the following, as discussed below, the number of Held Specified Shares

               shall not be included in the calculation of the total number of shares in each Class.

       5.      In order to implement the foregoing principles, and subject to the input and

recommendations of the Distribution Administrator and Class Counsel, the Distribution

Administrator shall consult appropriate records, data, and such other sources as the Distribution

Administrator may reasonably determine to be suitable and reliable for the purposes of

       a.      determining an aggregate Stated Value of all the issued shares in the Fannie Preferred

               Class (the “Fannie Preferred Class Value”) by aggregating the Stated Values of all

               the issued shares listed in Appendix A, adjusted as necessary and appropriate to

               account for the aggregate Stated Value of Held Specified Shares of Fannie Preferred

               and the aggregate Stated Value of Fannie Preferred shares held by WR Berkley

               Plaintiffs; and

       b.      determining an aggregate Redemption Price of all the issued shares in the Freddie

               Preferred Class (the “Freddie Preferred Class Value”) by aggregating the

               Redemption Prices of all the issued shares listed in Appendix B, adjusted as

               necessary and appropriate to account for the aggregate Redemption Price of Held

               Specified Shares of Freddie Preferred and the aggregate Redemption Price of

               Freddie Preferred shares held by WR Berkley Plaintiffs; and

       c.      determining the number of issued shares in the Freddie Common Class, adjusted as

               necessary and appropriate to account for Held Specified Shares of Freddie Common

               and Freddie Common shares held by WR Berkley Plaintiffs.

       6.      As discussed in more detail below, a sample distribution to a member of the Fannie

Preferred Class is represented by this formula:




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𝐹𝑎𝑛𝑛𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝐶𝑙𝑎𝑠𝑠 𝑀𝑒𝑚𝑏𝑒𝑟 𝐷𝑖𝑠𝑡𝑟𝑖𝑏𝑢𝑡𝑖𝑜𝑛

= (𝐹𝑎𝑛𝑛𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑁𝑒𝑡 𝐶𝑙𝑎𝑠𝑠 𝐴𝑤𝑎𝑟𝑑)

                    𝑁𝑢𝑚𝑏𝑒𝑟 𝑜𝑓 𝐹𝑎𝑛𝑛𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑆ℎ𝑎𝑟𝑒𝑠 𝐻𝑒𝑙𝑑 × 𝑆𝑡𝑎𝑡𝑒𝑑 𝑉𝑎𝑙𝑢𝑒 𝑝𝑒𝑟 𝑆ℎ𝑎𝑟𝑒
×
    𝐹𝑎𝑛𝑛𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝐶𝑙𝑎𝑠𝑠 𝑉𝑎𝑙𝑢𝑒 − (𝐻𝑒𝑙𝑑 𝑆𝑝𝑒𝑐𝑖𝑓𝑖𝑒𝑑 𝑆ℎ𝑎𝑟𝑒𝑠 𝑜𝑓 𝐹𝑎𝑛𝑛𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑥 𝑆𝑡𝑎𝑡𝑒𝑑 𝑉𝑎𝑙𝑢𝑒 𝑝𝑒𝑟 𝑆ℎ𝑎𝑟𝑒)


         7.     In other words, the Distribution Administrator shall compute the share of the Fannie

Preferred Net Class Award to be allocated to each share of Fannie Mae Junior Preferred Stock held

by members of the Fannie Preferred Class, which shall bear the same ratio to the Fannie Preferred

Net Class Award as each share bears to the Fannie Preferred Class Value.

         8.     As discussed in more detail below, a sample distribution to a member of the Freddie

Preferred Class is represented by this formula:

𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝐶𝑙𝑎𝑠𝑠 𝑀𝑒𝑚𝑏𝑒𝑟 𝐷𝑖𝑠𝑡𝑟𝑖𝑏𝑢𝑡𝑖𝑜𝑛

= (𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑁𝑒𝑡 𝐶𝑙𝑎𝑠𝑠 𝐴𝑤𝑎𝑟𝑑)

                     𝑁𝑢𝑚𝑏𝑒𝑟 𝑜𝑓 𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑆ℎ𝑎𝑟𝑒𝑠 𝐻𝑒𝑙𝑑 × 𝑅𝑒𝑑𝑒𝑚𝑝𝑡𝑖𝑜𝑛 𝑃𝑟𝑖𝑐𝑒 𝑝𝑒𝑟 𝑆ℎ𝑎𝑟𝑒
×
    𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝐶𝑙𝑎𝑠𝑠 𝑉𝑎𝑙𝑢𝑒 − (𝐻𝑒𝑙𝑑 𝑆𝑝𝑒𝑐𝑖𝑓𝑖𝑒𝑑 𝑆ℎ𝑎𝑟𝑒𝑠 𝑜𝑓 𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝑃𝑟𝑒𝑓𝑒𝑟𝑟𝑒𝑑 𝑥 𝑅𝑒𝑑𝑒𝑚𝑝𝑡𝑖𝑜𝑛 𝑃𝑟𝑖𝑐𝑒 𝑝𝑒𝑟 𝑆ℎ𝑎𝑟𝑒)


         9.     In other words, the Distribution Administrator shall compute the share of the

Freddie Preferred Net Class Award to be allocated to each share of Freddie Mac Junior Preferred

Stock held by members of the Fannie Preferred Class, which shall bear the same ratio to the Freddie

Preferred Net Class Award as each share bears to the Freddie Preferred Class Value.

         10.    As discussed in more detail below, a sample distribution to a member of the Freddie

Common Class is represented by this formula:

𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝐶𝑜𝑚𝑚𝑜𝑛 𝐶𝑙𝑎𝑠𝑠 𝑀𝑒𝑚𝑏𝑒𝑟 𝐷𝑖𝑠𝑡𝑟𝑖𝑏𝑢𝑡𝑖𝑜𝑛

= (𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝐶𝑜𝑚𝑚𝑜𝑛 𝑁𝑒𝑡 𝐶𝑙𝑎𝑠𝑠 𝐴𝑤𝑎𝑟𝑑)

                   𝑁𝑢𝑚𝑏𝑒𝑟 𝑜𝑓 𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝐶𝑜𝑚𝑚𝑜𝑛 𝑆ℎ𝑎𝑟𝑒𝑠 𝐻𝑒𝑙𝑑
×
    𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝐶𝑜𝑚𝑚𝑜𝑛 𝑆ℎ𝑎𝑟𝑒𝑠 𝐼𝑠𝑠𝑢𝑒𝑑 − 𝐻𝑒𝑙𝑑 𝑆𝑝𝑒𝑐𝑖𝑓𝑖𝑒𝑑 𝑆ℎ𝑎𝑟𝑒𝑠 𝑜𝑓 𝐹𝑟𝑒𝑑𝑑𝑖𝑒 𝐶𝑜𝑚𝑚𝑜𝑛



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           11.   In other words, the Distribution Administrator shall allocate the Freddie

Common Net Class Award pro rata to the shares in the Freddie Common Class.

           D.    Procedures for Payment of the Net Class Award

           12.   Prior to disbursement of any funds to any Class members, the Court will establish

procedures for approval of the Allocation Plan, including, but not limited to, procedures for

notifying Class members of the Allocation Plan and providing them an opportunity to object

thereto.

           13.   The Distribution Administrator shall propose, and the Court shall approve, a final

Distribution Method that reflects the following principle: the Distribution Administrator shall

consult appropriate records, data, and such other sources as the Distribution Administrator may

reasonably determine to be suitable and reliable for the purposes of:

           a.    determining the portion of the Net Class Award to be disbursed to each broker that

                 holds shares of Fannie Mae Junior Preferred Stock, Freddie Mac Junior Preferred

                 Stock, and/or Freddie Mac Common Stock on behalf of its account holders as of

                 the record date for disbursement to be determined by the Distribution Administrator

                 and approved by the Court (the “Record Date”) (each a “Broker Disbursement”),

                 and the portion of each Broker Disbursement to be disbursed to each Class member

                 based on their respective holdings as of the Record Date;

           b.    determining the portion of the Net Class Award, if any, to be disbursed directly to

                 each registered shareholder of record that holds shares of Fannie Mae Junior

                 Preferred Stock, Freddie Mac Junior Preferred Stock, and/or Freddie Mac Common

                 Stock as of the Record Date (each a “Direct Disbursement”); and




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         c.    identifying the Opt-outs and the number of Specified Shares each Opt-out holds as

               of the Record Date.

         14.   The Distribution Administrator shall propose a Distribution Method pursuant to

which:

         a.    the Net Class Award will be disbursed to Class Members via Broker Disbursements

               and Direct Disbursements;

         b.    Opt-outs who hold Specified Shares as of the Record Date will be excluded from

               disbursement with regard to the Specified Shares they hold as of the Record Date;

               and

         c.    to the extent that as of the Record Date any Opt-outs hold shares in addition to their

               Specified Shares (“Additional Shares”), such Opt-outs will not be excluded from

               disbursement with regard to the Additional Shares. 1

         15.   Given the Allocation Plan and Distribution Method, Plaintiffs expect there will not

be any unclaimed or undistributed funds in this case. The Court shall defer decision on the

disposition of undistributed funds until such time as the amount of undistributed funds, if

any, has been determined.

         16.   In implementing the Allocation Plan and Distribution Method, the Distribution

Administrator shall issue the Net Berkley Award to the WR Berkley Plaintiffs based on the shares

they held on the date of their opt-out notice, as proven in trial in PX-0462, in accordance with the

procedures and principles described herein with respect to the Net Class Award except that the




1
 For the avoidance of doubt, to the extent that as of the Record Date an Opt-out owns Additional
Shares, those Additional Shares shall be eligible for disbursements to the same extent as any other
shares held by members of the Classes as of the Record Date.

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               Appendix A: Fannie Mae Junior Preferred Stock

         8.25% Non-Cumulative Preferred Stock, Series T (OTCBB: FNMAT)
 Fixed-to-Floating Rate Non-Cumulative Preferred Stock, Series S (OTCBB: FNMAS)
        7.625% Non-Cumulative Preferred Stock, Series R (OTCBB: FNMAJ)
         6.75% Non-Cumulative Preferred Stock, Series Q (OTCBB: FNMAI)
     Variable Rate Non-Cumulative Preferred Stock, Series P (OTCBB: FNMAH)
     Variable Rate Non-Cumulative Preferred Stock, Series O (OTCBB: FNMFN)
5.375% Non-Cumulative Convertible Series 2004-1 Preferred Stock (OTCBB: FNMFO)
        5.50% Non-Cumulative Preferred Stock, Series N (OTCBB: FNMAK)
        4.75% Non-Cumulative Preferred Stock, Series M (OTCBB: FNMAL)
        5.125% Non-Cumulative Preferred Stock, Series L (OTCBB: FNMAN)
        5.375% Non-Cumulative Preferred Stock, Series I (OTCBB: FNMAG)
        5.81% Non-Cumulative Preferred Stock, Series H (OTCBB: FNMAM)
     Variable Rate Non-Cumulative Preferred Stock, Series G (OTCBB: FNMAO)
     Variable Rate Non-Cumulative Preferred Stock, Series F (OTCBB: FNMAP)
         5.10% Non-Cumulative Preferred Stock, Series E (OTCBB: FNMFM)
         5.25% Non-Cumulative Preferred Stock, Series D (OTCBB: FDDXD)
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                   Appendix B: Freddie Mac Junior Preferred Stock

           Variable Rate, Non-Cumulative Preferred Stock, Series I (OTCQB: FMCCI)
              5% Non-Cumulative Preferred Stock, Series KK (OTCQB: FMCKK)
          Variable Rate, Non-Cumulative Preferred Stock, Series G (OTCQB: FMCCG)
              5.1% Non-Cumulative Preferred Stock, Series H (OTCQB: FMCCH)
             5.79% Non-Cumulative Preferred Stock, Series K (OTCQB: FMCCK)
          Variable Rate, Non-Cumulative Preferred Stock, Series L (OTCQB: FMCCL)
         Variable Rate, Non-Cumulative Preferred Stock, Series M (OTCQB: FMCCM)
          Variable Rate, Non-Cumulative Preferred Stock, Series N (OTCQB: FMCCN)
             5.81% Non-Cumulative Preferred Stock, Series O (OTCQB: FMCCO)
                6% Non-Cumulative Preferred Stock, Series P (OTCQB: FMCCP)
           Variable Rate, Non-Cumulative Preferred Stock, Series J (OTCQB: FMCCJ)
              5.7% Non-Cumulative Preferred Stock, Series KP (OTCQB: FMCKP)
    Variable Rate, Non-Cumulative Perpetual Preferred Stock, Series S (OTCQB: FMCCS)
         6.42% Non-Cumulative Perpetual Preferred Stock, Series T (OTCQB: FMCCT)
        5.9% Non-Cumulative Perpetual Preferred Stock, Series KO (OTCQB: FMCKO)
       5.57% Non-Cumulative Perpetual Preferred Stock, Series KM (OTCQB: FMCKM)
       5.66% Non-Cumulative Perpetual Preferred Stock, Series KN (OTCQB: FMCKN)
       6.02% Non-Cumulative Perpetual Preferred Stock, Series KL (OTCQB: FMCKL)
        6.55% Non-Cumulative Perpetual Preferred Stock, Series KI (OTCQB: FMCKI)
Fixed-to-Floating Rate Non-Cumulative Perpetual Preferred Stock, Series KJ (OTCQB: FMCKJ)
                      5.1% Non-Cumulative Preferred Stock (OTC: FREJO)
                      5.3% Non-Cumulative Preferred Stock (OTC: FREJP)
                     5.81% Non-Cumulative Preferred Stock (OTC: FREGP)
                     5.81% Non-Cumulative Preferred Stock (OTC: FREJN)
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                                                                          Appendix C - List of Valid Opt-Outs (Green)
                                                In re Fannie Mae/Freddie Mac Senior Preferred Stock Purchase Agreement Class Action Litigations
                                                                                       Exclusion Report


                                                                      Fannie Mae Junior        Freddie Mac Junior   Freddie Mac Common                             Requests To Be
      Exclusion ID #                Name            Postmark Date                                                                            Ineligible Stock                       Exclusion Type
                                                                       Preferred Stock           Preferred Stock            Stock                                   Exclude From


 1.    159034720       Donna M Monforte                3/3/2022     7 Shares (Not Specified)          N/A                 9 Shares                  -                All Classes        EMAIL


 2.    159034721       Alexander R MacKenzie           3/1/2022               N/A                     N/A                48 Shares                  -                All Classes        MAIL


 3.    159034722       Philip J Lederer               3/26/2022               N/A                     N/A               1,194 Shares                -                All Classes        MAIL

                                                                        25,000 FNMAT
                                                                        5,000 FNMAH               5,000 FMCKJ
                                                                        32,040 FNMAH              2,082 FMCKL
 4.    159034724       Claude Lee Ferrell III          4/2/2022                                                             N/A               1,000 FNFMN            All Classes        EMAIL
                                                                        10,000 FNMAT              1,075 FMCCS
                                                                         3,500 FNMAT               590 FMCCS
                                                                        20,060 FNMAS
 5.    159034726       Phillip M Brauckmann            4/5/2022          200 FNMAT                 400 FMCKJ                N/A                     -                All Classes        EMAIL

                       FMT Co Cust IRA Rollover
 6.    159034727                                       4/5/2022          Not Provided             Not Provided         Not Provided                 -               Not Specified       EMAIL
                       FBO Riffel Sabbagh

                       FMTC Custodian-Roth IRA
 7.    159034728                                       4/5/2022          Not Provided             Not Provided         Not Provided                 -               Not Specified       EMAIL
                       FBO Riffel Sabbagh


 8.    159034729       Robert B. Reed                  4/6/2022          Not Provided             Not Provided         Not Provided                 -               Not Specified       EMAIL


 9.    159034730       Alexander R MacKenzie          4/11/2022               N/A                 Not Provided           50 Shares                  -                All Classes        MAIL

10.    159034731       David Murphy Flower            4/18/2022          Not Provided             Not Provided          Not Provided                -               Not Specified       EMAIL

11.    159034732       Michael Peyron Harmon          4/20/2022               N/A                     N/A               5,100 Shares           5,100 FNMA            All Classes        EMAIL

12.    159034733       Anthony Olson                  4/19/2022               N/A                     N/A                500 Shares             245 FNMA             All Classes        EMAIL


13.    159034734       Henry Shannon Adams            4/15/2022               N/A                     N/A               4,490 Shares          11,050 FNMA            All Classes        MAIL


14.    159034735       Robert C. Stewart              4/21/2022               N/A               200 FMCKJ, SRS57            N/A                5,000 FNMA            All Classes        EMAIL

15.    159034736       Bobby Herr                     4/21/2022          Not Provided             Not Provided          Not Provided                -                All Classes        EMAIL

                       McMonagle Family Trust
16.    159034737                                      4/21/2022               N/A                     N/A               2,136 Shares                -                All Classes        EMAIL
                       (Charles McMonagle)
                                                                                                                                         Fannie Mae Common Stock
17.    159034738       Andrew Barrett                 4/22/2022              N/A                      N/A              110,000 Shares                                All Classes        EMAIL
                                                                                                                                              113,200 Shares
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                                                                    Fannie Mae Junior      Freddie Mac Junior     Freddie Mac Common                             Requests To Be
      Exclusion ID #                 Name           Postmark Date                                                                          Ineligible Stock                       Exclusion Type
                                                                     Preferred Stock         Preferred Stock              Stock                                   Exclude From

                                                                                                                                       Fannie Mae Common Stock
18.    159034739       Atif Bhatti                    4/22/2022             N/A                   N/A                       N/A                                    All Classes        EMAIL
                                                                                                                                              7,617 Shares
                                                                       1,750 FNMAS             575 FMCCI
                                                                       5,000 FNMAT            650 FMCCM
                                                                        525 FNMFN            1,050 FMCKO
19.    159034740       Tyler Whitney                  4/22/2022        1,050 FNMAH            1,075 FMCKI                   N/A                   -                All Classes        EMAIL
                                                                       3,000 FNMAK             565 FMCCL
                                                                        540 FNMAM            7,500 FMCKM
                                                                       5,250 FNMAP           5,500 FMCKN
                                                                                                                                       Fannie Mae Common Stock
20.    159034741       Michael Rop                    4/22/2022        6,750 FNMAS                N/A                       N/A                                    All Classes        EMAIL
                                                                                                                                              4,100 Shares
                                                                      12,000 FNMAS
                                                                      1,580 FNMAG
                                                                       1,000 FNMAL           10,000 FMCKJ                              Fannie Mae Common Stock
21.    159034742       Alvin Wilson Jr.               4/22/2022                                                        2,000 Shares                                All Classes        EMAIL
                                                                      1,350 FNMAK            2,100 FMCKM                                      2,000 Shares
                                                                      4,980 FNMAM
                                                                        400 FNMAN
                                                                      2,028 FNMAH
                                                                                              1,175 FMCKL
22.    159034743       Michael Carmody                4/22/2022        3,000 FNMAS                                          N/A                   -                All Classes        EMAIL
                                                                                              1,125 FMCJK
                                                                      2,640 FNMAY
                                                                                                                                       Fannie Mae Common Stock
23.    159034744       Marcus Liotta                  4/22/2022          1 FNMAK                1 FMCKK                20,500 Shares                               All Classes        EMAIL
                                                                                                                                             35,100 Shares
                                                                     7,977,023 Series O                                                  754,500 Series S MTN
24.    159034745       Berkley Insurance Compay       4/22/2022       230,000 Series R            N/A                       N/A         1,750,000 Series W MTN     All Classes        EMAIL
                                                                       1,000 Series S                                                        1,000 Series Z
25.    159034747       Nishant Subbiah                4/22/2022         Not Provided          Not Provided             Not Provided               -               Not Specified       EMAIL
                                                                     16,173 Shares (Not
26.    159034748       Nigel Jagwant                  4/23/2022                                    3,592 Shares (Not Specified)                   -               Not Specified       EMAIL
                                                                          Specified)
                                                                     Fannie Mae shares
27.    159034749       Stuart Naifeh                  4/25/2022     through an IRA with           N/A                       N/A                   -               Not Specified       EMAIL
                                                                    Fidelity Investments
28.    159034750       Sarah Kamilaris                4/24/2022         Not Provided          Not Provided             Not Provided               -               Not Specified       EMAIL
29.    159034751       Jeremy C. Van Deventer         4/23/2022        3,680 FNMAS                N/A                  8,286 Shares          9,470 FNMA           Not Specified       EMAIL

                                                                      200 Shares (Not
30.    159034752       Albert Shon                    4/23/2022                                     200 Shares (Not Specified)                    -                All Classes        EMAIL
                                                                        Specified)
                       Brian Cannava/Diversified
31.    159034753                                      4/23/2022        Not Provided           Not Provided             Not Provided               -                All Classes        EMAIL
                       Site Services LLC

32.    159034754       Acadia Insurance Company       4/22/2022             N/A                   N/A                       N/A                   -                All Classes        EMAIL
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      Exclusion ID #                 Name            Postmark Date                                                                       Ineligible Stock                         Exclusion Type
                                                                      Preferred Stock      Preferred Stock            Stock                                       Exclude From


33.    159034755       Admiral Indeminity Company      4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL


34.    159034756       Admiral Insurance Company       4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL
                       Berkley Regional Insurance
35.    159034757                                       4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL
                       Company
                       Carolina Casualty Insurance
36.    159034758                                       4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL
                       Company

                       Midwest Employers Casualty
37.    159034759                                       4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL
                       Insurance Company


38.    159034760       Nautilus Insurance Company      4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL

                       Preferred Employers
39.    159034761                                       4/22/2022           N/A                  N/A                   N/A                       -                  All Classes        EMAIL
                       Insurance Company

40.    159034762       Phillip M Brauckmann            4/7/2022         200 FNMAT            400 FMCKJ                N/A                       -                  All Classes        MAIL

41.    159034763       Michael Peyron Harmon           4/20/2022           N/A                  N/A               5,100 Shares            5,100 FNMA               All Classes        MAIL


                                                                                                                                     Federal National Mortgage
                                                                                                                                    Association Common Stock:
                                                                                                                                               1,250
42.    159034764       James A. Tighe                  4/25/2022           N/A                  N/A                   N/A                                          All Classes        EMAIL
                                                                                                                                   Federal Home Loan Mortgage
                                                                                                                                    Corporation Common Stock:
                                                                                                                                               1,250


43.    159034765       Eric Staudt                     4/26/2022           N/A               501 FMCKJ                N/A                       -                  All Classes        EMAIL
                                                                                                                                   Fannie Mae Common Stock
44.    159034766       Michael Rop                     4/22/2022       6,750 FNMAS              N/A                   N/A                                          All Classes        MAIL
                                                                                                                                          4,100 Shares
                                                                       1,750 FNMAS           575 FMCCI
                                                                       5,000 FNMAT          650 FMCCM
                                                                        525 FNMFN          1,050 FMCKO
45.    159034767       Tyler Whitney                   4/22/2022       1,050 FNMAH          1,075 FMCKI               N/A                       -                  All Classes        MAIL
                                                                       3,000 FNMAK           565 FMCCL
                                                                        540 FNMAM          7,500 FMCKM
                                                                       5,250 FNMAP         5,500 FMCKN
                                                                                                                                   Fannie Mae Common Stock
46.    159034768       Andrew Barrett                  4/22/2022           N/A                  N/A              110,000 Shares                                    All Classes        MAIL
                                                                                                                                        113,200 Shares
                                                                                                                                   Fannie Mae Common Stock
47.    159034769       Atif Bhatti                     4/22/2022           N/A                  N/A                   N/A                                          All Classes        MAIL
                                                                                                                                          7,617 Shares
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                                                                     Fannie Mae Junior    Freddie Mac Junior   Freddie Mac Common                             Requests To Be
      Exclusion ID #                 Name            Postmark Date                                                                      Ineligible Stock                       Exclusion Type
                                                                      Preferred Stock       Preferred Stock            Stock                                   Exclude From

                                                                       2,028 FNMAH
                                                                                             1,175 FMCKL
48.    187844102       Michael Carmody                 4/22/2022       3,000 FNMAS                                     N/A                     -                All Classes        MAIL
                                                                                             1,125 FMCJK
                                                                       2,640 FNMAY
                                                                                                                                    Fannie Mae Common Stock
49.    187844103       Marcus Liotta                   4/22/2022         1 FNMAK               1 FMCKK            20,500 Shares                                 All Classes        MAIL
                                                                                                                                          35,100 Shares
                                                                       12,000 FNMAS
                                                                       1,580 FNMAG
                                                                        1,000 FNMAL         10,000 FMCKJ                            Fannie Mae Common Stock
50.    187844104       Alvin Wilson Jr.                4/22/2022                                                   2,000 Shares                                 All Classes        MAIL
                                                                       1,350 FNMAK          2,100 FMCKM                                    2,000 Shares
                                                                       4,980 FNMAM
                                                                         400 FNMAN
51.    187844105       Doug and Mary Wickham           4/22/2022       Not Provided          Not Provided          Not Provided                -                All Classes        MAIL


52.    187844106       Sara Rivera                     4/21/2022            N/A                  N/A                100 Shares             100 FNMA             All Classes        MAIL

                                                                                                                                             FNMA:
                                                                                                                   Joint Shares:
                                                                                                                                          Joint Shares:
                                                                                                                    900 Shares
                                                                                                                                           900 Shares
                                                                                                                  James McVey:
53.    187844107       James & Ruthanne Mcvey          4/22/2022            N/A                  N/A                                     James McVey:           All Classes        MAIL
                                                                                                                  11,080 Shares
                                                                                                                                         11,270 Shares
                                                                                                                 Ruthanee McVey:
                                                                                                                                        Ruthanee McVey:
                                                                                                                   1,100 Shares
                                                                                                                                          1,100 Shares
                                                                     7,977,023 Series O                                               754,500 Series S MTN
54.    187844108       Berkley Insurance Compay        4/26/2022      230,000 Series R           N/A                   N/A           1,750,000 Series W MTN     All Classes        MAIL
                                                                       1,000 Series S                                                     1,000 Series Z

55.    187844109       Robert Yew                      4/18/2022         2 FNMAS                 N/A              14,000 Shares                -                All Classes        MAIL

56.    187844110       Acadia Insurance Company        4/26/2022            N/A                  N/A                   N/A                     -                All Classes        MAIL


57.    187844111       Admiral Indeminity Company      4/26/2022            N/A                  N/A                   N/A                     -                All Classes        MAIL

58.    187844112       Admiral Insurance Company       4/26/2022            N/A                  N/A                   N/A                     -                All Classes        MAIL
                       Berkley Regional Insurance
59.    187844113                                       4/26/2022            N/A                  N/A                   N/A                     -                All Classes        MAIL
                       Company
                       Carolina Casualty Insurance
60.    187844114                                       4/26/2022            N/A                  N/A                   N/A                     -                All Classes        MAIL
                       Company
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                                                                    Fannie Mae Junior   Freddie Mac Junior   Freddie Mac Common                        Requests To Be
      Exclusion ID #             Name               Postmark Date                                                                   Ineligible Stock                    Exclusion Type
                                                                     Preferred Stock      Preferred Stock            Stock                              Exclude From


                       Midwest Employers Casualty
61.    187844115                                      4/26/2022           N/A                  N/A                  N/A                    -             All Classes        MAIL
                       Insurance Company


62.    187844116       Nautilus Insurance Company     4/26/2022           N/A                  N/A                  N/A                    -             All Classes        MAIL

                       Preferred Employers
63.    187844117                                      4/26/2022           N/A                  N/A                  N/A                    -             All Classes        MAIL
                       Insurance Company
